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OF TEXAS






NO. WR-78,159-01






EX PARTE JOSE ANGEL FAJARDO, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. 98-CR-698-A IN THE 107TH DISTRICT COURT
FROM CAMERON COUNTY 





	Per curiam.

		

O R D E R



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for a writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of the offense of
manslaughter and sentenced to imprisonment for twenty years. 

	On July 3, 2012, an order designating issues was signed by the trial court.  The habeas record
has been forwarded to this Court prematurely.  We remand this application to the 107th District
Court of Cameron County to allow the trial judge to complete an evidentiary investigation and enter
findings of fact and conclusions of law.

	This application will be held in abeyance until the trial court has resolved the fact issues.  The 


	2

issues shall be resolved within 90 days of this order.  A supplemental transcript containing all
affidavits and interrogatories or the transcription of the court reporter's notes from any hearing or
deposition, along with the trial court's supplemental findings of fact and conclusions of law, shall
be forwarded to this Court within 120 days of the date of this order.  Any extensions of time shall
be obtained from this Court. 


Filed: September 26, 2012

Do not publish 


	


